               Case 3:19-md-02885-MCR-HTC Document 3173 Filed 06/06/22 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                     Northern District
                                                  __________  District of
                                                                       of Florida
                                                                          __________


                       EARL WILBURN                               )
                             Plaintiff                            )
                                v.                                )      Case No.   3:19-MD-02885
                    3M COMBAT ARMS                                )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          EARL WILBURN                                                                                                       .


Date:          06/06/2022                                                                     /s/ Ken Moll
                                                                                           Attorney’s signature


                                                                                         Ken Moll - 6199874
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